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DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV, SUITE 600 U.S. COURTS
800 EAST PARK BOULEVARD —
BOISE, IDAHO 83712-7788 SEP 10 2019
TELEPHONE: (208) 334-1211 OO Revd Filed____Time
FACSIMILE: (208) 334-1413 STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO
UNITED STATES DISTRICT COURT
- FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,,. Case No. CR 1 9- 0 2 8 9 S BLW
Plaintiff, INDICTMENT
vs. 18 U.S.C. § 1512(a)(2)(A)
18 U.S.C. § 1513(b)(2)
MELVIN JACOBS,
Defendant.
The Grand Jury charges:

COUNT ONE

Tampering With a Witness, Victim, or Informant by Physical Force or Threat
18 U.S.C. § 1512(a)(2)(A)

On or about February 2, 2019, in 1 the District of Idaho, the defendant, MELVIN

JACOBS, used the threat of physical force against a confidential law enforcement informant

INDICTMENT - 1

 
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(“Informant”) by posting on Snapchat a message threatening to kill Informant with the intent to
influence, delay, and prevent the testimony of Informant in an official proceeding, which
proceeding was the prosecution of the defendant’s friend for selling counterfeit currency, in

violation of Title 18, United States Code, Section 1512(a)(2)(A).

COUNT TWO

Obstructing Justice by Retaliating Against a Witness, Victim, or an Informant
18 U.S.C. § 1513(b)(2)

On or about February 2, 2019, in the District of Idaho, the defendant, MELVIN
JACOBS, did knowingly threaten to engage in conduct, to wit: threatening to kill a confidential
law enforcement informant (“Informant”), that would cause bodily injury, with the intent to
retaliate against Informant for information given by Informant to a law enforcement officer

relating to the commission and possible commission of a federal offense, in violation of Title 18,

United States Code, Section 1513(b)(2).

COUNT THREE

Obstructing Justice by Retaliating Against a Witness, Victim, or an Informant
18 U.S.C. § 1513(b)(2)

On or about April 22, 2019, in the District of Idaho, the defendant, MELVIN JACOBS,
did knowingly threaten to engage in conduct, to wit: threatening to kill a confidential law
enforcement informant (“Informant”), that would cause bodily injury, with the intent to retaliate
against Informant for information given by Informant to a law enforcement officer relating to the

commission and possible commission of a federal offense, in violation of Title 18, United States

Code, Section 1513(b)(2).

INDICTMENT - 2

 
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Dated this | O day of September, 2019.

A TRUE BILL

/s/ [signature on reverse]

 

Foreperson

BART M. DAVIS
United States Attorney

Assistant United States Attorney

INDICTMENT -3

 
